     Case 3:17-cv-01165-B Document 14 Filed 07/08/17      Page 1 of 21 PageID 111


                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


     MOISES AGUILAR, JR.,                 §
                                § CIVIL ACTION NO. 3:17-CV-01165-B
             Plaintiff,         §
                                §
     v.
                                § FIRST AMENDED COMPLAINT
                                §
     OCWEN LOAN SERVICING, LLC, §
                                §
             Defendant.         §     JURY TRIAL DEMANDED
                                §



        Plaintiff, by counsel and pursuant to the Federal Rules of Civil Procedure,

files this First Amended Complaint and asserts the following:

                                   INTRODUCTION

1.     This action for damages is brought by an individual plaintiff in response to

       Defendant’s violations of the the Telephone Consumer Protection Act

       (“TCPA”), 47 U.S.C. § 227, the Texas Debt Collection Practices Act, Texas

       Finance Code, Chapter 392 (“TDCPA”), and for common law Negligence

       violations and common law Unreasonable Collection Efforts.

2.     The Telephone Consumer Protection Act (“TCPA”) was designed to prevent

       calls like the ones described within this Complaint, and to protect the privacy

       of citizens like the plaintiff. “Voluminous consumer complaints about abuses

                                        Page !1 of 21
                                                   !
     Case 3:17-cv-01165-B Document 14 Filed 07/08/17       Page 2 of 21 PageID 112



       of telephone technology––for example, computerized calls dispatched to

       private homes––prompted Congress to pass the TCPA.” Mims v. Arrow Fin.

       Servs., LLC, 132 S. Ct. 740, 744 (2012).

3.     In enacting the TCPA, Congress intended to give consumers a choice as to

       how creditors and telemarketers may call them, and made specific findings

       that “[t]echnologies that might allow consumers to avoid receiving such calls

       are not universally available, are costly, are unlikely to be enforced, or place

       an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.

       Toward this end, Congress found that:

            [b]anning such automated or prerecorded telephone calls to the
            home, except when the receiving party consents to receiving
            the call or when such calls are necessary in an emergency
            situation affecting the health and safety of the consumer, is the
            only effective means of protecting telephone consumers from
            this nuisance and privacy invasion.

       Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012

       WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings

       on TCPA’s purpose).

4.     Congress also specifically found that “the evidence presented to the Congress

       indicates that automated or prerecorded calls are a nuisance and an invasion

       of privacy, regardless of the type of call. . . .” TCPA, Pub.L. No. 102–243, at

       §§ 12-13. See also, Mims, 132 S. Ct. at 744.




                                        Page !2 of 21
                                                   !
     Case 3:17-cv-01165-B Document 14 Filed 07/08/17       Page 3 of 21 PageID 113


5.     Similarly the State of Texas enacted the Texas Debt Collection Practices Act,

       (TDCPA), which amongst other things, prohibits debt collectors from

       oppressing, harassing, or abusing individuals by causing their telephones to

       ring repeatedly or continuously, or from making repeated or continuous

       telephone calls to individuals, with the intent to harass them at the called

       telephone number, Tex Fin Code § 392.302(4).

6.     Moises Aguilar, Jr. (“Aguilar” or “Plaintiff”), through his attorneys, brings

       this action to challenge the actions of Ocwen Loan Servicing, LLC (“OLS”),

       (hereinafter “Ocwen” or “Defendant”) with regard to attempts by Defendant

       to unlawfully and abusively collect a debt allegedly owed by Plaintiff, and

       this conduct caused Plaintiff damages.

7.     The statute of limitations is tolled due to the commencement of a class action

       based on same or similar allegations in the matter of Keith Snyder, on behalf

       of himself and all others similarly situated v. Ocwen Loan Servicing, LLC,

       Case No. 1:14-cv-8461, filed against Defendant on October 27, 2014 in the

       Northern District of Illinois. See America Pipe & Construction Co v. State of

       Utah, 414 U.S. 538 (1974).

8.     Plaintiff makes these allegations on information and belief, with the

       exception of those allegations that pertain to Plaintiff, which Plaintiff alleges

       on personal knowledge.



                                         Page !3 of 21
                                                    !
     Case 3:17-cv-01165-B Document 14 Filed 07/08/17          Page 4 of 21 PageID 114


9.     While many violations are described below with specificity, this Complaint

       alleges violations of the statutes cited in their entirety.

10.    Unless otherwise stated, all the conduct engaged in by Defendant took place

       in Texas.

11.    Any violations by Defendant were knowing, willful, and intentional, and

       Defendant did not maintain procedures reasonably adapted to avoid any such

       specific violation.

                               JURISDICTION AND VENUE

12.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 47 U.S.C. §

       227(b), and 28 U.S.C. § 1367 for supplemental state claims.

13.    This action arises out of Defendant’s violations of federal law. 47 U.S.C. §

       227(b); Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740 (2012).

14.    Because Defendant does business within the Northern District of Texas,

       personal jurisdiction is established.

15.    Venue is proper pursuant to 28 U.S.C. § 1391 as Defendant maintains a

       corporate office in the Northern District of Texas.

16.    Defendant is subject to the Court’s personal jurisdiction.

                                         PARTIES

17.    Plaintiff, Aguilar (“Plaintiff”) is a natural person who resides in the City of

       Round Rock, State of Texas.



                                           Page !4 of 21
                                                      !
  Case 3:17-cv-01165-B Document 14 Filed 07/08/17       Page 5 of 21 PageID 115


18.   Plaintiff is, and at all times mentioned herein was, a “person” as defined by

      47 U.S.C. § 153(39).

19.   Plaintiff is a consumer as defined by the Texas Business and Commerce Code

      section §17.50(a)(1) and Texas Finance Code §392.001(1).

20.   Defendant OLS has its principal place of business in the City of West Palm

      Beach, in the State of Florida.

21.   Defendant is a “person” as defined by 47 U.S.C. § 153(39).

22.   Defendant is an entity who at all relevant times was engaged, by use of the

      mails and telephone, in the business of attempting to collect a “debt” from

      Plaintiff, as defined by Tex. Fin. Code Ann. § 392.001(6).

23.   Defendant is a “debt collector” as defined by Tex. Fin. Code Ann. §

      392.001(2).

                               FACTUAL ALLEGATIONS

24.   Between March 30, 2011 and December 13, 2015, Defendant called Plaintiff

      on Plaintiff’s cellular telephone numbers ending in 2942 and 4602 via an

      “automatic telephone dialing system” (“ATDS”), as defined by 47 U.S.C. §

      227(a)(1), using an “artificial or prerecorded voice” as prohibited by 47

      U.S.C. § 227(b)(1)(A).

25.   Plaintiff further alleges on information and belief that after December 13,

      2015, Defendant continued to call Plaintiff on Plaintiff’s cellular telephone

      numbers ending in 2942 and 4602 via an “automatic telephone dialing

                                        Page !5 of 21
                                                   !
  Case 3:17-cv-01165-B Document 14 Filed 07/08/17         Page 6 of 21 PageID 116


      system” (“ATDS”), as defined by 47 U.S.C. § 227(a)(1), using an “artificial

      or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A), a number

      of times and with a degree of frequency to be determined via discovery.

26.   This ATDS has the capacity to store or produce telephone numbers to be

      called, using a random or sequential number generator.

27.   When Plaintiff would answer the calls from Defendant, there would often be

      a silence, sometimes with a click or beep-tone, before an Ocwen

      Representative would pick up and start speaking.

28.   Sometimes, Plaintiff would receive calls from Defendant in which the caller

      was a recorded voice or message, rather than a live representative.

29.   In total, Plaintiff has received at least 1,496 calls from Defendant on

      Plaintiff’s cellular telephone.

30.   For example, Plaintiff received at least 548 calls in 2014 from Defendants,

      particularly:

      • 56 calls in April, 2014––with calls on every day of the month.

      • 69 calls in June, 2014––with calls on every day of the month.

      • 64 calls in July, 2014––with 3 calls per day coming on 14 separate days.

      • 74 calls in September, 2014––with calls on every day of the month.

31.   No later than 2014 and on multiple occasions, Plaintiff clearly revoked any

      type of prior express consent, if prior express consent ever existed, by stating

      that Plaintiff no longer wished to be contacted by telephone.

                                        Page !6 of 21
                                                   !
  Case 3:17-cv-01165-B Document 14 Filed 07/08/17         Page 7 of 21 PageID 117


32.   Plaintiff answered several of the above mentioned telephone calls from

      Defendant and asked Defendant to stop calling.

33.   Despite this clear and unmistakable request, the calls continued without

      interruption.

34.   Each of these requests terminated any express or implied consent that

      Defendant may have had prior to beginning its campaign of harassment by

      telephone.

35.   Each of these calls was an attempt to collect on a consumer debt allegedly

      due and owing by Plaintiff.

36.   The calls by Defendant to Plaintiff’s cell phone continued, even after

      Plaintiff’s oral revocation.

37.   As a result, the telephone calls by Defendant, or its agent(s), violated 47

      U.S.C. § 227(b)(1).

38.   Plaintiff was personally affected, becoming frustrated and distressed that,

      despite telling Defendant to stop calling Plaintiff’s cellular phone, Defendant

      continued to harass Plaintiff with collection calls using an ATDS.

39.   The unrelenting, repetitive calls disrupted Plaintiff’s daily activities and the

      peaceful enjoyment of Plaintiff’s personal and professional life, including the

      ability to use Plaintiff’s phone.

40.   The calls placed by Defendant to Plaintiff were extremely intrusive,

      including Plaintiff’s relationships with close family members.

                                          Page !7 of 21
                                                     !
  Case 3:17-cv-01165-B Document 14 Filed 07/08/17        Page 8 of 21 PageID 118


41.   Specifically, Plaintiff began to ignore or send to voicemail many incoming

      calls from unknown numbers, out of frustration in dealing with Defendant’s

      unwanted and intrusive calls.

42.   In doing so, Plaintiff missed important communications from friends and

      family.

43.   Through their actions, Defendant’s breached their duty of care to Plaintiff

      and caused Plaintiff damages.

44.   Through its actions, Defendant violated the Texas Debt Collection Practices

      Act.

45.   Through its actions, Defendant breached their duties under the common law

      for their unreasonable collection efforts and caused Plaintiff damages.

                                      Damages

46.   Defendant caused an invasion of Plaintiff’s privacy by calling his cellular

      phone over 1,496 times in an attempt to collect a debt.

47.   Defendant caused Plaintiff emotional distress and embarrassment by calling

      him repeatedly and continuously.

48.   Defendant consumed and wasted Plaintiff’s cell phone battery life.

49.   Defendant wasted hours of Plaintiff’s time by calling Plaintiff when

      Defendant had no right to call Plaintiff.

50.   Defendant caused the Plaintiff to suffer the frustration and annoyance the

      TCPA was enacted to prevent. See, e.g., Mey v. Got Warranty, Inc., No.

                                        Page !8 of 21
                                                   !
  Case 3:17-cv-01165-B Document 14 Filed 07/08/17         Page 9 of 21 PageID 119


      5:15-CV-101, 2016 U.S. Dist. LEXIS 84972, at *8 (N.D.W. Va. June 30,

      2016) (“[S]uch calls also cause intangible injuries, regardless of whether

      the consumer has a prepaid cell phone or a plan with a limited number of

      minutes. The main types of intangible harm that unlawful calls cause are

      (1) invasion of privacy, (2) intrusion upon and occupation of the capacity of

      the consumer’s cell phone, and (3) wasting the consumer’s time or causing

      the risk of personal injury due to interruption and distraction.”)

                                       STANDING

51.   Standing is proper under Article III of the Constitution of the United States of

      America because Plaintiff’s claims state:

          a. a valid injury in fact;

          b. which is traceable to the conduct of Defendant;

          c. and is likely to be redressed by a favorable judicial decision.

      See, Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) at 6, and Lujan v.

      Defenders of Wildlife, 504 U.S. 555 at 560.

52.   In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must

      clearly allege facts demonstrating all three prongs above.

                                The “Injury in Fact” Prong

53.   Plaintiff’s injury in fact must be both “concrete” and “particularized” in order

      to satisfy the requirements of Article III of the Constitution, as laid out in

      Spokeo (Id.).

                                        Page !9 of 21
                                                   !
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17          Page 10 of 21 PageID 120


54.   For an injury to be “concrete” it must be a de facto injury, meaning that it

      actually exists.   In the present case, Plaintiff was called on their cellular

      phone by Defendant. Such calls are a nuisance, an invasion of privacy, and

      an expense to Plaintiff. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d

      637, 638 (7th Cir. 2012). All three of these injuries are concrete and de facto.

55.   For an injury to be “particularized” means that the injury must “affect the

      Plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S.

      ___ (2016) at 7. In the instant case, it was Plaintiff’s phone that was called

      and it was Plaintiff who answered the calls.        It was Plaintiff’s personal

      privacy and peace that was invaded by Defendant’s persistent phone calls

      using an ATDS. Finally, Plaintiff alone is responsible to pay the bill on their

      cellular phone.    All of these injuries are particularized and specific to

      Plaintiff, and will be the same injuries suffered by each member of the

      putative class.

               The “Traceable to the Conduct of Defendant” Prong

56.   The second prong required to establish standing at the pleadings phase is that

      Plaintiff must allege facts to show that her injury is traceable to the conduct

      of Defendant(s).

57.   In the instant case, this prong is met simply by the fact that the calls to

      Plaintiff’s cellular phone were placed either, by Defendant directly, or by

      Defendant’s agent at the direction of Defendant.

                                       Page !10 of ! 21
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17            Page 11 of 21 PageID 121


 The “Injury is Likely to be Redressed by a Favorable Judicial Opinion” Prong

58.   The third prong to establish standing at the pleadings phase requires Plaintiff

      to allege facts to show that the injury is likely to be redressed by a favorable

      judicial opinion.

59.   In the present case, Plaintiff’s Prayers for Relief include a request for

      damages for each call made by Defendant, as authorized by statute in 47

      U.S.C. § 227. The statutory damages were set by Congress and specifically

      redress the financial damages suffered by Plaintiff and the members of the

      putative class.

60.   Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to restrain

      Defendant from the alleged abusive practices in the future. The award of

      monetary damages and the order for injunctive relief redress the injuries of

      the past, and prevent further injury in the future.

61.   Because all standing requirements of Article III of the U.S. Constitution have

      been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016), Plaintiff

      has standing to sue Defendant on the stated claims.




                                        Page 11
                                             ! of 21
                                                  !
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17         Page 12 of 21 PageID 122


                                CAUSES OF ACTION

                                     COUNT I

                      NEGLIGENT VIOLATIONS OF THE
               TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                             47 U.S.C. 227

62.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

63.   The foregoing acts and omissions constitute numerous and multiple

      violations of the TCPA, including but not limited to each and every one of

      the above-cited provisions of the TCPA, 47 U.S.C. 227 et. seq.

64.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,

      Plaintiff is entitled to an award of $500.00 in statutory damages, for each and

      every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

65.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such

      conduct in the future.

                                     COUNT II

               KNOWING AND/OR WILLFUL VIOLATIONS OF THE
               TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                             47 U.S.C. 227

66.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

67.   The foregoing acts and omissions of Defendant constitute numerous and

      multiple knowing and/or willful violations of the TCPA, including but not

                                      Page !12 of ! 21
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17             Page 13 of 21 PageID 123


      limited to each and every one of the above-cited provisions of 47 U.S.C. §

      227 et seq.

68.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

      227 et seq., Plaintiff is entitled to treble damages, as provided by statute, up

      to $1,500.00, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)

      (B) and 47 U.S.C. § 227(b)(3)(C).

69.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such

      conduct in the future.

                                       COUNT III

                                     NEGLIGENCE

70.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

71.   Defendant had a duty to use care to not infringe on Plaintiff’s privacy rights

      when collecting on alleged debts and not calling Plaintiff hundreds of times

      to harass and/or abuse Plaintiff.

72.   Defendants breached that duty by calling Plaintiff on Plaintiff’s cellular

      telephone an excessive number of times, as discussed above, and continued

      to call despite Plaintiff’s request that the calls stop.

73.   Defendant’s negligence was a substantial and proximate factor in causing

      Plaintiff the harm and injury described above.

74.   Plaintiff was harmed and suffered injury as described above.

                                          Page !13 of ! 21
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17              Page 14 of 21 PageID 124


75.   As a result, Plaintiff is entitled to actual damages.

76.   Defendant’s conduct was malicious and oppressive.

77.   As a result, Plaintiff is entitled to punitive damages.

                                      COUNT IV

                            NEGLIGENCE PER SE - TCPA

78.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

79.   The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.

      was designed to prevent calls like the ones described within this complaint,

      and to protect the privacy of citizens like Plaintiff.

80.   Thus, Plaintiff is within the protective class which the TCPA is designed to

      protect.

81.   As described above, Defendant breached its duty when it violated the TCPA.

82.   Defendant’s violation of the TCPA was a substantial and proximate factor in

      causing Plaintiff this harm and injury described above.

83.   As said conduct was carried out by Defendant in an oppressive, malicious,

      despicable, gross and wantonly negligent manner, said conduct demonstrates

      Defendant’s conscious disregard for the rights and safety of Plaintiff or their

      family. As such Plaintiff is entitled to recover punitive damages from

      Defendant in an amount according to proof at trial.



                                        Page !14 of ! 21
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17           Page 15 of 21 PageID 125


                                        COUNT V

         OPPRESSION, HARASSMENT, AND ABUSE IN VIOLATION OF THE
            TEXAS DEBT COLLECTION PRACTICES ACT (TDCPA),
                   TEXAS FINANCE CODE, CHAPTER 392

84.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

85.   Under the TDCPA, Defendant was barred from oppressing, harassing, or

      abusing Plaintiff by causing Plaintiff’s telephone to ring repeatedly or

      continuously, or from making repeated or continuous telephone calls to

      Plaintiff, with the intent to harass Plaintiff at the called number, Tex Fin Code

      § 392.302(4).

86.   Defendant disregarded its obligations under the TDCPA by causing

      Plaintiffs’s telephone to ring repeatedly or continuously, and/or by making

      repeated or continuous telephone calls to Plaintiff, with the intent to harass

      Plaintiff at the called number.

87.   Defendant caused Plaintiff damages by disregarding Defendant’s obligation

      under the TDCPA to not oppress, harass, or abuse Plaintiff by causing

      Plaintiffs’s telephone to ring repeatedly or continuously, and/or by making

      repeated or continuous telephone calls to Plaintiff, with the intent to harass

      Plaintiff at the called number.

88.   Defendant has oppressed, harassed, and abused Plaintiff by causing

      Plaintiffs’s telephone to ring repeatedly or continuously, and/or by making

                                        Page !15 of ! 21
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17          Page 16 of 21 PageID 126


      repeated or continuous telephone calls to Plaintiff, with the intent to harass

      Plaintiff at the called number in violation of Tex. Fin. Code. § 392.302(4).

89.   Defendant’s actions are a deceptive trade practice pursuant to Tex. Fin. Code.

      § 392.404(a).

90.   Plaintiff alleges that Defendant’s actions were taken knowingly and

      intentionally thereby entitling Plaintiff to additional damages, attorneys’ fees

      and costs of court, pursuant to both the TDCPA.

                                     COUNT VI

                      BREACH OF THE COMMON LAW TORT OF
                      UNREASONABLE COLLECTION EFFORTS

91.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

92.   Defendant engaged in unreasonable collection efforts, in violation of the

      common law of the State of Texas.

93.   Defendant maintained a practice of repeatedly and continuously calling

      Plaintiff’s telephone in furtherance of Defendant’s debt collection efforts.

94.   Defendant’s repeated and continuous telephone calls were made in such a

      way that a person of ordinary care and prudence would not have used such

      methods under the same or similar circumstances.

95.   Defendant’s calls to Plaintiff were a harassing means to collect a debt in a

      willful, wanton and malicious way intended to inflict mental anguish and


                                       Page !16 of ! 21
 Case 3:17-cv-01165-B Document 14 Filed 07/08/17              Page 17 of 21 PageID 127


      expose Plaintiff to feelings of actual and perceived ridicule in the community

      and workplace.

96.   Defendant’s behavior caused Plaintiff to suffer extreme and several mental

      anguish and emotional distress.

97.   As a result, Plaintiff is entitled to actual damages.

98.   Defendant’s conduct was malicious and and reckless.

99.   As a result, Plaintiff is entitled to exemplary damages.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and

Plaintiff be awarded damages from Defendant, as follows:

                                        COUNT I

                       NEGLIGENT VIOLATIONS OF THE TCPA
                             47 U.S.C. §§ 227 ET SEQ.

      •     Statutory damages of $500 for each and every negligent violation of the

            TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B);

      •     Any and all other relief that the Court deems just and proper.

                                       COUNT II

             KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                         47 U.S.C. §§ 227 ET SEQ.

      •     Statutory damages of $1,500, for each and every knowing and/or

            willful violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B)

            and 47 U.S.C. § 227(b)(3)(C).

                                        Page !17 of ! 21
Case 3:17-cv-01165-B Document 14 Filed 07/08/17      Page 18 of 21 PageID 128


   •    Any and all other relief that the Court deems just and proper.

                                 COUNT III

                               NEGLIGENCE

   •    An award of actual damages;

   •    An award of punitive damages;

   •    Any and all other relief that the Court deems just and proper.

                                 COUNT IV

                           NEGLIGENCE PER SE

   •    An award of actual damages;

   •    An award of punitive damages;

   •    Any and all other relief that the Court deems just and proper.

                                 COUNT V

                OPPRESSION, HARASSMENT, AND ABUSE
                        IN VIOLATION OF THE
          TEXAS DEBT COLLECTION PRACTICES ACT (TDCPA),
                 TEXAS FINANCE CODE, CHAPTER 392

   •    Ruling that Defendant violated the TDCPA;

   •    Awarding Plaintiff actual damages pursuant to the TDCPA;

   •    In the alternative, awarding Plaintiff statutory damages of at least $100

        pursuant to the TDCPA for each and every violation of the TDCPA;

   •    Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this

        action;


                                  Page !18 of ! 21
    Case 3:17-cv-01165-B Document 14 Filed 07/08/17          Page 19 of 21 PageID 129


       •     Awarding Plaintiff any pre-judgment and post-judgment interest as may

             be allowed under the law;

       •     Any and all other relief that the Court deems just and proper.

                                         COUNT VI

                      BREACH OF THE COMMON LAW TORT OF
                      UNREASONABLE COLLECTION EFFORTS

       •     An award of actual damages;

       •     An award of exemplary damages;

       •     Any and all other relief that the Court deems just and proper.

                                    JURY DEMAND

100. Pursuant to the seventh amendment to the Constitution of the United States

       of America, Aguilar is entitled to, and demands, a trial by jury.




Date: July 8, 2017                By:/s/ Anthony Chester
                                    Anthony P. Chester
                                    State Bar No. 24092253
                                    HYDE & SWIGART
                                    1910 Pacific Ave., Suite 14155
                                    Dallas, TX 75201
                                    Telephone: (952) 225-5333
                                    Facsimile: (800) 635-6425
                                    Email: tony@westcoastlitigation.com

	                                    	




                                          Page !19 of ! 21
    Case 3:17-cv-01165-B Document 14 Filed 07/08/17    Page 20 of 21 PageID 130



	                                 Christopher	S.	Cornell	
                                  State Bar No. 24097535
                                  HYDE & SWIGART
                                  1910 Pacific Ave., Suite 14155
                                  Dallas, TX 75201
                                  Telephone: (214) 880-6362
                                  Facsimile: (800) 635-6425
                                  Email: christopher@westcoastlitigation.com

	                                 Abbas Kazerounian, Esq.
                                  State Bar No. 24090982
                                  KAZEROUNI LAW GROUP, APC
                                  245 Fischer Ave, Unit D1
                                  Costa Mesa, CA 92626
                                  Telephone: (800) 400-6808 Ext. 2
                                  Facsimile: (800) 520-5523
                                  Email: ak@kazlg.com
                                                                          	

                                  Attorneys for Moises Aguilar Jr




                                    Page !20 of ! 21
    Case 3:17-cv-01165-B Document 14 Filed 07/08/17     Page 21 of 21 PageID 131



                            CERTIFICATE OF SERVICE
 
       On July 8, 2017, I electronically submitted the foregoing document with the
clerk of court for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court. I hereby certify that all parties were
served via electronic case filing, email, or by another manner authorized by
Federal Rule of Civil Procedure 5(b)(2) or the local rules.

                                                    By:/s/ Anthony P. Chester
                                                           Anthony P. Chester




                                     Page !21 of ! 21
